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 8                           UNITED STATES DISTRICT COURT

 9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

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11                                             CASE NO. CV 21-01924-AB(AS)
      RICKEY LOUIS ALFORD,
12                                             ORDER ACCEPTING FINDINGS,
13                      Petitioner,            CONCLUSIONS AND
14          v.                                 RECOMMENDATIONS OF UNITED
15    KATHLEEN ALLISON, Secretary of           STATES MAGISTRATE JUDGE
      the California Department of
16    Corrections and
      Rehabilitation,
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18                      Respondent.
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22         Pursuant to 28 U.S.C. section 636, the Court has reviewed the

23   Petition, all of the records herein and the attached Report and

24   Recommendation     of   United   States    Magistrate   Judge   to   which   no

25   objections were filed.        Accordingly, the Court concurs with and

26   accepts the findings and conclusions of the Magistrate Judge.

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 1         IT IS ORDERED that Judgment be entered denying the Petition
 2   with prejudice.
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 4         IT IS FURTHER ORDERED that the Clerk serve copies of this

 5   Order, the Magistrate Judge’s Report and Recommendation and the

 6   Judgment    herein   on   counsel    for    Petitioner   and   counsel     for
 7   Respondent.
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 9         DATED: September 22, 2021

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11                                              ___________    _________ ____
                                                       ANDRÉ BIROTTE JR.
12                                               UNITED STATES DISTRICT JUDGE

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